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Association of Professional
Flight Attendants

Representing the Flight Attendants of AmericanAirlines

November 24, 2020
Via Email and Return Receipt Certified Mail #7019 1120 0000 0179 3144

Mr. Bob Ross

RE: Overpayment of Wages
Dear Mr. Ross:

| am sending this letter to follow-up on our telephone conversation on November 10, 2020.
During our call, we discussed the finding of the APFA Board of Directors that you were
overpaid in the amount of $5,436.47 in 2018. The Board’s finding was based on the results of a
review from an independent accounting firm which determined that the formula used to
determine the daily rate for your sick and vacation payout was incorrect. (See Schedule C,
enclosed).

On or before January 1, 2021, please remit payment (via check, money order, cashier’s check, or
credit card) to APFA in full or contact me to discuss payment arrangements.

Please contact me at i: charris RE with any questions or concerns. Thank

you for your prompt cooperation.

Sincerely,

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Erik Harris

National Treasurer

Enclosure

CC:  APFA Board of Directors
APFA Executive Committee
Margot Nikitas, General Counsel

Exhibit A-2

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Bob Ross - National President Pay

116 hours pald monthly at the highest purser pay including International overide, per the policy manual.

 

 

* Maximum flight attendant pay 60.13
Purser Pay 7.50
International pay 3.75
71.38 116 hours 8,280.08
|8I-monthly pay 4/1/16 - 12/31/16 4,140.04 |
** Maximum flight attendant pay 61.33
Purser Pay 7.50
International pay 3.75

72,58 116hours 8,419,238

 

|Bi-monthly pay - 1/1/17 - 5/1/17 4,209.64 |
101,031.36 | Annual salary
276.80 | Daily rate for sick and vacation

 

 

 

 

 

*** Maximum flight attendant pay 64.96 -
Purser Pay 7.50
International pay 3.75

76.21 116hours 8,840.36

 

|Bi-monthly pay - $/2/17 - 12/31/17 4,420.18 |
106,084.32 |Annual salary
290.64 | Daily rate for sick and vacation

 

 

 

 

 

**** Maximum flight attendant pay 66.26
Purser Pay 7.50
international pay 3.75

77.51 116hours 8,991.16

 

|Bi-monthly pay - 1/1/18 - 7/31/18 4,495.58 |
107,893.92 | Annual salary
295.60 | Daily rate for sick and vacation

 

 

 

 

 

* Pay rates effective 4/1/16

** Pay rates effective 1/1/17 - 5/1/17
*** Pay rates effective 5/2/17 - 12/31/17 (1.6% Increase}
*#** Day rates effective 1/1/18 - 7/31/18

Exhibit A-2
 

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